Case 1:20-cv-03039-DML-RLY Document
                           41 D01 -2011-1 Filed 11/19/20
                                      0-CT-0001 57       Page 1 of 11 PageID    #: 4
                                                                         Filed: 10/27/2020 12:20 PM
                                                                                                                    Clerk
                                                 Johnson Superior Court   1                       Johnson County, Indiana




                                         APPEARANCE FORM (CIVIL)
                                                       Initiating Party




             CAUSE NO:

   1.        Name   of ﬁrst   initiating party                Barbara Yates
                                                              1493 Green Spring    Way
                                                              Greenwood, IN 46143


  2.         Telephone 0f pro se      initiating party        NA

  3.         Attorney information (as applicable              Rom Byron #21268—49
             for service   0f process)                        Ken Nunn Law Ofﬁce
                                                              104 South Franklin Road
                                                              Bloomington, IN 47404
                                                              PHONE:           812 332-9451
                                                              FAX:             812 331-5321
                                                              Email:      r0m@kennunn.com


  4.         Case type requested                              CT   (Civil Tort)



  5.         Will accept   FAX service                        YES

  6.         Are there   related cases                        NO

  7.         Additional information required by
             State or Local Rules



  Continuation 0f Item        1   (Names of initiating        NAME:
  parties)                                                    NAME:

  Continuation of Item 3 (Attorney information
  as applicable for service 0f process)



                                                          s/Rom Byron
                                                         Attorney—at-Law
                                                         (Attorney information    shown above.)
 Case 1:20-cv-03039-DML-RLY Document
                            41 D01 -2011-1 Filed 11/19/20
                                       0-CT-0001 57       Page 2 of 11 PageID    #: 5
                                                                          Filed: 10/27/2020 12:20 PM
                                                                                                                                     Clerk
                                                    Johnson Superior Court    1                                    Johnson County, Indiana




STATE OF INDIANA                              )                 IN      THE JOHNSON                              COURT
                                                  SS:
COUNTY OF JOHNSON                             g                 CAUSE NO.

BARBARA YATES

         VS.

MENARD, INC.

                                        COMPLAINT FOR DAMAGES

         Comes now the plaintiff, Barbara Yates, by counsel, Ken Nunn Law Ofﬁce, and                                for
cause of action against the defendant, Menard,                Inc., alleges       and   says:


         1.        That on or about August 15, 2020, the                plaintiff,   Barbara Yates, was a customer            at

the   Menards     store located at      300 South Marlin Drive           in   Greenwood, Johnson County, Indiana.

         2.        That on or about August 15, 2020, the                plaintiff,   Barbara Yates, tripped and        fell

0n a   plastic obj ect    0n the ﬂoor     at the   entrance t0 the store, causing the plaintiff to suffer serious
injuries.



         3.        That   it   was   the duty of the defendant t0 use ordinary care and diligence t0 keep
and maintain the said premises in a condition reasonably safe for       its intended uses and free

from   all    defects and conditionswhich would render the premises dangerous and unsafe for
plaintiff,    0r present an unreasonable risk of harm to plaintiff in her lawful use of same.


         4.        That   it   was   the duty of the defendant to exercise reasonable care to protect
plaintiff,  by inspection and other afﬁrmative acts, from the danger 0f reasonably foreseeable
injury   occurring from reasonably foreseeable use 0f said premises.


         5.        That   it   was   the duty of the defendant t0 have available sufﬁcient personnel and
equipment       t0 properly inspect       and maintain the aforesaid premises                 in a condition reasonably
safe for plaintiff and free          from defects and conditions rendering the premises unsafe.

         6.        That   it   was   the duty of the defendant t0        warn     plaintiff 0f the   dangerous and
unsafe condition existing on said premises.


         7.        That the defendant knew 0r should have                 known 0f the unreasonable          risk 0f
danger to the plaintiff but failed either to discover              it   or to correct    it   after discovery.
 Case 1:20-cv-03039-DML-RLY Document 1-1 Filed 11/19/20 Page 3 of 11 PageID #: 6



                                                         -2-


       8.     That the   fall   and resultant permanent                 0f plaintiff were caused by the
                                                                 injuries
negligence of the defendant      who     failed to utilize    reasonable care in the inspection and
maintenance of said premises.


       9.     That the aforesaid acts 0f negligence 0n the part 0f the defendant were the
proximate cause 0f the injuries sustained by the          plaintiff.



       10.    That the plaintiff has incurred medical expenses and other special expenses, and
will incur future medical expenses, lost           wages and other      special expenses, as a direct   and
proximate result 0f defendant's negligence.


       WHEREFORE, the plaintiff demands judgment against the                        defendant for permanent
injuries in a reasonable   amount       t0   be determined     at the trial   0f this cause, for medical expenses
and other special expenses, for future medical expenses,                lost   wages and other   special expenses,
court costs, and all other proper relief in the premises.


                                             KEN NUNN LAW OFFICE


                                             BY:    s/Rom Byron
                                                    Rom Byron, #21268—49
                                                    KEN NUNN LAW OFFICE
                                                    104 South Franklin Road
                                                    Bloomington, IN 47404
                                                    Phone: (812) 332-9451
                                                    Fax: (812) 331-5321
                                                    E-mail:    romb@kennunn.com




                                   REQUEST FOR TRIAL BY JURY

       Comes now the       plaintiff,   by counsel, Ken Nunn Law Ofﬁce, and requests                that this


matter be tried by jury pursuant t0 Trial Rule 38.
 Case 1:20-cv-03039-DML-RLY Document 1-1 Filed 11/19/20 Page 4 of 11 PageID #: 7



                                          -3-


                                KEN NUNN LAW OFFICE


                                BY:   s/ Rom    Byron
                                      Rom Byron, #21268-49
                                      KEN NUNN LAW OFFICE
                                      104 South Franklin Road
                                      Bloomington, IN 47404
                                      Phone: (812) 332-9451
                                      Fax: (812) 33 1-5321
                                      E-mail:   romb@kennunn.com




Rom Byron, #2 1 268-49
Ken Nunn Law Ofﬁce
104 South Franklin Road
Bloomington, IN 47404
Telephone: 8 12-332-9451
Fax Number:    8 12-33 1-5321
Attorney for Plaintiff
                                                                       Filed: 11/6/2020 10:46 AM
Case 1:20-cv-03039-DML-RLY Document 1-1 Filed 11/19/20 Page 5 of 11 PageID   #: 8
                                                                                                                                   Clerk
                                                                                                                 Johnson County, Indiana




 94989.49
 STATE OF INDIANA                                                 IN    THE JOHNSON SUPERIOR COURT                1




 COUNTY OF JOHNSON                                                CAUSE NO.:          41D01-2010-CT-000157



 BARBARA YATES
            Plaintiff,


 V.




 MENARD,          INC.
            Defendant.


                  E-FILING APPEARANCE                  BY ATTORNEY UNDER TRIAL RULE 3.1

            Party Classiﬁcation:   Initiating:                 Responding:        X    Intervening:


 1.         The undersigned attorney appears          in this case for the following party         member:

                                                           Menard,   Inc.


 2.         Attorney information for service as required by Trial Rule 5(B)(2):


        Jessica N. Hamilton                                        Atty.    No.       34268-71
        KOPKA PINKUS DOLIN PC                                      Telephone:         (3   1   7) 8 1 8— 1 360
        550 Congressional Boulevard                                Facsimile:         (31 7) 8 1 8- 1 390

        Suite 3 10                                                 Email:             inhamilton@k0pkalaw.com
        Carmel, IN 46032


        Leslie B. Pollie                                           Atty.    N0.       25716-49
        KOPKA PINKUS DOLIN PC                                      Telephone:         (3   7) 8 1 8- 1 360
                                                                                           1

        5 50 Congressional Boulevard                               Facsimile:         (3 1 7) 8 1 8— 1 3 90
        Suite 3 10                                                 Email:             lbpollie@kopkalaw.com
        Carmel, 1N 46032


            IMPORTANT:       Each attorney speciﬁed 0n           this   Appearance:


            (a)     certiﬁed that the contact information listed for him/her 0n the Indiana Supreme
                    Court R011 of Attorneys           is   current and accurate as 0f the date 0f this Appearance;


            (b)     acknowledges that all orders, opinions, and notices from the court in this matter that are
                    served under Trial Rule 86(G) will be sent to the attorney at the email addresses speciﬁed
                    by the attorney 0n the R011 0f Attorneys regardless 0f the contact information listed above
                    for the attorney; and


            (c)     understands that he/she      is   solely responsible for keeping his/her R011 0f Attorneys contact
                    information current and accurate, see Ind. Admis. Disc. R. 2(A).
Case 1:20-cv-03039-DML-RLY Document 1-1 Filed 11/19/20 Page 6 of 11 PageID #: 9



 3.     Case Type requested under Administrative Rule           8(b)(3):   CT

 4.     I   Will accept service   by fax   at the   above noted number:         N0

        Iwill accept service by email      at the   above noted address: Yes

 5.     This case involves child support issues:        N0

 6.     This case involves a protection from abuse order, a workplace Violence restraining order, 0r a n0—
        contact order:   No

 7.     This case involves a petition for involuntary commitment:          N0

 8.     Are there   related cases:   No

 9.     Additional information required by local rule:         N0

 10.    Are there other party members: N0

 11.    This form has been served 0n       all   other parties and a Certiﬁcate 0f Service     is   attached.




                                                        Respectfully Submitted,


                                                        KOPKA PINKUS DOLIN PC


                                                        By: Jessica N. Hamilton
                                                             Jessica N. Hamilton (#34268-71)
                                                             Attorney for Defendant

                                          CERTIFICATE OF SERVICE

        I   hereby certify that 0n the 6th day 0f November, 2020,                         I   electronically ﬁled the
 foregoing document using the Indiana E-Filing System (IEFS).                   I   further certify that the following
 persons were served on the same date using the IEFS:


        Rom Byron
        Ken Nunn Law Ofﬁce
        104 South Franklin Rd
        Bloomington, IN 47404




                                                                Jessica N. Hamilton


 KOPKA PINKUS DOLIN PC
 550 Congressional Blvd.
Case 1:20-cv-03039-DML-RLY Document 1-1 Filed 11/19/20 Page 7 of 11 PageID #: 10




 Suite 3 10
 Carmel, IN 46032
 Tel:    (317) 818-1360
 Fax:   (317) 818-1390
 Email: jnhamilton@kopkalaw.com
      Case 1:20-cv-03039-DML-RLY Document 1-1 Filed 11/19/20 Page 8 of 11 PageID  #:11/12/2020
                                                                              Filed: 11        4:04 PM
                                                                                                                     Clerk
                                                                                                   Johnson County, Indiana




    Mailer: Ken Nunn Law Office

    Date Produced: 11/09/2020

    ConnectSuite Inc.:

    The following is the delivery information for Certified Mail™/RRE item number 9214 8901 9403 8324
    0041 99. Our records indicate that this item was delivered on 11/03/2020 at 09:49 a.m. in
    INDIANAPOLIS, IN 46204. The scanned image of the recipient information is provided below.

    Signature of Recipient :




    Address of Recipient :




    Thank you for selecting the Postal Service for your mailing needs. If you require additional assistance,
    please contact your local post office or Postal Service representative.

    Sincerely,
    United States Postal Service

    The customer reference number shown below is not validated or endorsed by the United States Postal
    Service. It is solely for customer use.



    This USPS proof of delivery is linked to the customers mail piece information on file
    as shown below:
     MENARD INC
     C/O: THE PRENTICE-HALL CORPORATION SYSTEM INC
     STE 1610
     135 N PENNSYLVANIA ST
     INDIANAPOLIS IN 46204-2448




    Customer Reference Number:           C2347763.13354801
    Return Reference Number:             BARBARA YATES

2
  Case 1:20-cv-03039-DML-RLY Document 1-1 Filed 11/19/20 Page 9 of 11 PageID #: 12
USPS MAIL PIECE TRACKING NUMBER: 420462049214890194038324004199
MAILING DATE:     10/30/2020
DELIVERED DATE: 11/03/2020
CUSTOM1:


MAIL PIECE DELIVERY INFORMATION:
 MENARD INC
 C/O: THE PRENTICE-HALL CORPORATION SYSTEM INC
 STE 1610
 135 N PENNSYLVANIA ST
 INDIANAPOLIS IN 46204-2448



MAIL PIECE TRACKING EVENTS:
 10/29/2020 21:17     PRE-SHIPMENT INFO SENT USPS AWAITS ITEM     BLOOMINGTON,IN 47404
 10/30/2020 20:52     ORIGIN ACCEPTANCE                           BLOOMINGTON,IN 47404
 10/30/2020 22:07     PROCESSED THROUGH USPS FACILITY             INDIANAPOLIS,IN 46206
 11/01/2020 23:16     PROCESSED THROUGH USPS FACILITY             INDIANAPOLIS,IN 46206
 11/02/2020 09:04     PROCESSED THROUGH USPS FACILITY             INDIANAPOLIS,IN 46206
 11/03/2020 09:31     ARRIVAL AT UNIT                             INDIANAPOLIS,IN 46204
 11/03/2020 09:42     OUT FOR DELIVERY                            INDIANAPOLIS,IN 46204
 11/03/2020 09:49     DELIVERED INDIVIDUAL PICKED UP AT USPS      INDIANAPOLIS,IN 46204
    Case 1:20-cv-03039-DML-RLY Document   1-1
                                41 D01 -201    Filed 11/19/20
                                            0-CT-0001 57      Page 10 of 11 PageID    #: 13
                                                                               Filed: 10/27/2020 12:20 PM
                                                                                                                                                                                Clerk
                                                                        Johnson Superior Court      1                                                  Johnson County, Indiana


                                        CIRCUIT/SUPERIOR COURT FOR THE COUNTY OF JOHNSON
                                                         STATE OF INDIANA
                                                COURTHOUSE, 5 E. JEFFERSON STREET
                                                     FRANKLIN, INDIANA 46 1 3 1

Barbara Yates

                                                 P1aintiff(s)


                        VS.                                                                   N0.


Menard,     Inc.
                                                 Defendant(s)



                                                                               SUMMONS
The     State   0f Indiana t0 Defendant: Menard,             Inc., c/o     The Prentice—Hall Corporation System,               Inc.,   135 North Pennsylvania
Street, Suite 1610, Indianapolis,               IN 46204

            You have been         sued by the person(s) named             "plaintiff" in the court stated above.


       The nature of the suit against you is stated in the complaint Which                       is      attached to this document.       It   also states the
demand which the plaintiff has made and wants from you.

         You must answer the complaint in writing, by you or your attorney, Within Twenty (20) days, commencing the day
afteryou receive this summons, 0r judgment will be entered against you for what the plaintiff has demanded. You have twenty-
three (23) days t0 answer if this summons was received by mail. Such Answer Must Be Made In Court.


         If you have a claim for relief against the plaintiff arising from the same transaction 0r occurrence, you must assert                                        it   in
your written answer.


Date;
         0/27/2020


ROM BYRON, #21268—49
                                                                            arm                          w‘L          WW
                                                                                      CLERK, JOHNSON CIRCUIT/SUPERIOR CO


ATTORNEY FOR PLAINTIFF
KEN NUNN LAW OFFICE
104 FRANKLIN ROAD
BLOOMINGTON, IN            47404
TELEPHONE:        (812)332-9451
                                                      ACKNOWLEDGMENT OF SERVICE OF SUMMONS

2020.
            A copy of the above summons and a copy 0f the complaint attached thereto were received by me at                            this   _   day of                    ,




                                                                                              SIGNATURE OF DEFENDANT
PRAECIPE:       Idesignate the following   mode of service   t0   be used by the Clerk.


XX          By certiﬁed    or registered mail with return receipt to above address.


D           By   Sheriff delivering a copy of   summons and complaint personally t0 defendant   or      by leaving a copy of the summons and complaint     at his   dwelling
            house or usual place of abode with some person of suitable age and discretion residing         therein.



D           By                     d elivering a copy 0f summons and complaint personally t0 defendant 0r by leaving a copy of the summons and complaint               at

            his dwelling   house or usual place of abode.


D           By serving his   agent as provided by rule, statute or valid agreement, to-Wit:


                                                                                              KEN NUNN LAW OFFICE

                                                                                              BY:         s/   ROMBYRON
                                                                                                ATTORNEY FOR PLAINTIFF
   Case 1:20-cv-03039-DML-RLY Document 1-1 Filed 11/19/20 Page 11 of 11 PageID #: 14



CERTIFICATE OF MAILING:                     I   certify that     on the   _ day of                               ,
                                                                                                                     2 020,    I   mailed a copy of this summons and a copy of the complaint t0 each of the
defendant(s) by (registered or certiﬁed mail requesting a return receipt signed                                           by the addressee          only, addressed to each of said defendant(s) at the address(es)
furnished   by plaintiff.

                Dated   this   _ day 0f                      ,
                                                                 2 020.




                                                                                                                                           CLERK, JOHNSON CIRCUIT COURT

RETURN OF SERVICE OF SUMMONS BY MAIL:                                             Ihereby               certify that service            of summons with return receipt requested was mailed on the                                _ day of _
            ,
                2 020, and that a copy of the return of receipt was received by                                 me 0n the           _ day of                             ,
                                                                                                                                                                             2 020, Which copy         is   attached herewith.




                                                                                                                                           CLERK, JOHNSON CIRCUIT COURT

CERTIFICATE OF CLERK OF SUMMONS NOT ACCEPTED BY MAIL:                                                                              Ihereby                 on the
                                                                                                                                                certify that        day 0f     _       2 020, Imailed a copy 0f
                                                                                                                                                                                                              ,



this   summons and
                2020, and
                         a copy of the complaint t0 the defendant(s)
                               I   did deliver said     summons and
                                                                                           by       (registered 0r certiﬁed) mail,
                                                                               a copy of the complaint t0 the Sheriff of JOHNSON County, Indiana.
                                                                                                                                                   and the same was returned Without acceptance this _day 0f                                 _
            ,




                Dated   this   _ day 0f                          ,
                                                                     2 020.




                                                                                                                                           CLERK, JOHNSON CIRCUIT COURT

RETURN OF SUMMONS:                        This   summons came             t0   hand 0n the              _ day of                    ,   2020, and        I   served the same on the            _ day of               ,
                                                                                                                                                                                                                          2020.
                1.             By mailing a copy of the summons and complaint personally t0         address
                2.             By delivering a copy of summons and complaint personally to                                                                                                 .




                3.             By leaving a copy of the summons and complaint at                              t he dwelling house 0r usual place of abode                                                                               of
                               defendant:                               (Na me 0f Person) and by mailing by ﬁrst class mail a copy of the summons 0n the                                                                                _ day
                               0f                   ,
                                                        2 020 t0                                                 h   is last    known      address.
                4.             By    serving his agent as provided              by rule,    statute or valid                  agreement to-Wit:


                5.             Defendant cannot be found in                my bailwick and summons was not                                 served.


                And I now return this writ this           _ day 0f                     ,
                                                                                           2 020.



                                                                                                                                           SHERIFF               0r   DEPUTY

RETURN ON SERVICE OF SUMMONS:                                        Ihereby    certify that            I   have served the Within summons:


                1.             By delivery on the         _ day of                              ,
                                                                                                        2 020 a copy of this            summons and               a copy of the complaint to each of the within                   named
                               defendant(s)                                                                                                          .




                2.             By leaving on the         _   day of                                 ,
                                                                                                        2 020 for each 0f the Within               named              defendant(s)


                               _
                               _,
                                    a copy of the   summons and           a copy of the complaint at the respective dwelling house or usual place of abode with
                                       a person of suitable age and discretion residing therein Whose usual duties 0r activities include prompt communication of such
                               information t0 the person served.
                3.                                                                                                                                           a   nd by mailing a copy of the summons without                      the
                               complaint to                                                                           a   t                                                            t       he   last   known   address 0f defendant(s).


                A11 done in        JOHNSON County,          Indiana.




Fees: $
                                                                                                                          SHERIFF          0r   DEPUTY
